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                                                                                                     2018 Oct-26 PM 04:41
                                                                                                     U.S. DISTRICT COURT
                                                                                                         N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

JAMES BARBER,                                           )
                                                        )
                        Plaintiff,                      )
                                                        )
                        v.                              )       Case No.: 2:15-cv-0997-JHE
                                                        )
HUGH HOOD, et al.,                                      )
                                                        )
                        Defendants.                     )

             PLAINTIFF’S MOTION TO WITHDRAW EMERGENCY MOTION

        Plaintiff, James Barber, by his attorneys, hereby respectfully requests that this Court

allow him to withdraw his Emergency Motion for Order Concerning Counsel’s Access to

Plaintiff to Prepare for Trial (Dkt. 144). In support of his request, Plaintiff states as follows:

        1.      Plaintiff filed an emergency motion asking this Court to enter an order to facilitate

Plaintiff’s access to his counsel in advance of trial after his legal visit was cancelled due to

Plaintiff’s movement.

        2.      Thanks to the assistance of counsel for Defendant Dunn, Plaintiff’s counsel will

be meeting with Plaintiff tomorrow morning to prepare for trial. Plaintiff appreciates the

assistance from counsel.

        3.      Because this matter has been resolved, Plaintiff should be permitted to withdraw

his emergency motion.
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                                    Respectfully submitted,

                                    /s/ Sarah Grady
                                    Sarah Grady
                                    Attorney for Plaintiff


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                               CERTIFICATE OF SERVICE

       I, Sarah Grady, an attorney, hereby certify that on October 26, 2018, I caused the
foregoing Plaintiff’s Motion to Withdraw Emergency Motion to be filed using the Court’s
CM/ECF system, which effected service on all counsel of record.




                                                    /s/ Sarah Grady
                                                    Sarah Grady
                                                    Attorney for Plaintiff




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